           Case 1:18-vv-01937-UNJ Document 33 Filed 03/27/20 Page 1 of 5




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1937V
                                         UNPUBLISHED


    KIRSTEN SOMARELLI,                                        Chief Special Master Corcoran

                         Petitioner,                          Filed: February 26, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Meningococcal Vaccine; Shoulder
                                                              Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Jason Robert Ohliger, Weinstein, Zimmerman & Ohliger, Milford, PA, for Petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION AWARDING DAMAGES1

      On December 19, 2018, Kirsten Somarelli filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she sustained a SIRVA after receiving a
BexSero-Serogroup B Meningococcal vaccine on June 18, 2018. Petition at 1. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

        On January 3, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for her SIRVA. On February 26, 2020, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $55,000.00.
Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees with the
proffered award. Id. at 2. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the
E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
           Case 1:18-vv-01937-UNJ Document 33 Filed 03/27/20 Page 2 of 5




     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $55,000.00 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
         Case 1:18-vv-01937-UNJ Document 33 Filed 03/27/20 Page 3 of 5



               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                                   )
 KIRSTEN SOMARELLI,                                )
                                                   )
                Petitioner,                        )
                                                   )    No. 18-1937V
 v.                                                )    Chief Special Master Corcoran
                                                   )    ECF
 SECRETARY OF HEALTH AND HUMAN                     )
 SERVICES,                                         )
                                                   )
                Respondent.                        )
                                                   )

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On December 19, 2018, Kirsten Somarelli (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”) as a result of a meningococcal B vaccine she received on June 16,

2018. Petition at 1. On January 15, 2019, petitioner filed an amended petition to correct the

exhibits referenced in the original petition. ECF No. 7. On January 2, 2020, the Secretary of

Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is

appropriate for compensation under the terms of the Act, and on January 3, 2020, the Chief

Special Master issued a Ruling on Entitlement finding petitioner entitled to compensation. ECF

No. 26; ECF No. 27.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that Kirsten Somarelli should be awarded $55,000.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and
            Case 1:18-vv-01937-UNJ Document 33 Filed 03/27/20 Page 4 of 5



suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

II.       Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to Kirsten Somarelli should be made

through a lump sum payment as described below and requests that the Chief Special Master’s

decision and the Court’s judgment award the following1: a lump sum payment of $55,000.00,

representing compensation for pain and suffering, in the form of a check payable to petitioner,

Kirsten Somarelli.

III.      Summary of Recommended Payments Following Judgment

          Lump sum payable to petitioner, Kirsten Somarelli:                          $55,000.00

                                                Respectfully submitted,

                                                JOSEPH H. HUNT
                                                Assistant Attorney General

                                                C. SALVATORE D’ALESSIO
                                                Acting Director
                                                Torts Branch, Civil Division

                                                CATHARINE E. REEVES
                                                Deputy Director
                                                Torts Branch, Civil Division

                                                HEATHER L. PEARLMAN
                                                Assistant Director
                                                Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                   2
        Case 1:18-vv-01937-UNJ Document 33 Filed 03/27/20 Page 5 of 5



                                   s/ Sarah C. Duncan
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DATED: February 26, 2020




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